              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL           :
FOUNDATION,                         :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :               NO. 1:19-CV-00622
                                    :
LEIGH M. CHAPMAN, in her official   :               JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, and   :               MAG. JUDGE SAPORITO
JONATHAN M. MARKS, in his official :
capacity as Deputy Secretary for    :               ELECTRONICALLY FILED
Elections and Commissions,          :
                                    :
                  Defendants.       :

                                      ORDER

      AND NOW, this 13th day of July 2022, upon consideration of the Joint

Motion To Continue Stay of Proceedings Pending Settlement Conference, IT IS

HEREBY ORDERED THAT the Motion is GRANTED. All proceedings in this

matter and all filing deadlines are stayed through the conclusion of the settlement

conference scheduled for August 17, 2022.


                                             /s/ Christopher C. Conner
                                                                              J.
